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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                    AT FORT MYERS

ZSR Patlayici Sanayi A.S.,                   )
                                             )
                                             )
                Plaintiff,                   )
                                             )
       vs.                                   )       Civil Action No.: 2:19-cv-864-FtM-38MRM
                                             )
Matthew Sarac,                               )
Sarac Distributors LLC, and                  )
Yavex LLC,                                   )
                                             )
                                             )
                Defendants.                  )



                       CERTIFICATE OF INTERESTED PERSONS
                      AND CORPORATE DISCLOSURE STATEMENT

      I hereby disclose the following pursuant to this Court’s Order on Interested Persons and
Corporate Disclosure Statement:

1.      The name of each person, attorney, association of persons, firm, law firm, partnership, and
corporation that has or may have an interest in the outcome of this action— including subsidiaries,
conglomerates, affiliates, parent corporations, publicly-traded companies that own 10% or more
of a party’s stock, and all other identifiable legal entities related to any party in the case:
Plaintiff and Related Entities:
             ZSR Patlayici Sanayi A.S.
             Sarsilmaz Muhimmat Sanayi A.S. aka Sarsilmaz Patlayici Sanayi A.S.
             Zirve Holding A.S.

Plaintiff’s Attorneys:
             Mehmet Baysan, Breeding Henry Baysan P.C.
             Matthew Olinzock, Breeding Henry Baysan P.C.
             Ludmila Khomiak, The Cases Law Firm, P.C.

Defendants:
              Matthew Sarac
              Sarac Distributors LLC
              Yavex LLC



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2.     The name of every other entity whose publicly traded stock, equity, or debt may be
substantially affected by the outcome of the proceedings:

             None

3.      The name of every other entity which is likely to be an active participant in the proceedings,
including the debtor and members of the creditors’ committee (or twenty largest unsecured
creditors) in bankruptcy cases:

             None

4.     The name of each victim (individual or corporate) of civil and criminal conduct alleged to
be wrongful, including every person who may be entitled to restitution:

             ZSR Patlayici Sanayi A.S.
             Sarsilmaz Muhimmat Sanayi A.S. aka Sarsilmaz Patlayici Sanayi A.S.
             Zirve Holding A.S.

        I hereby certify that, except as disclosed above, I am unaware of any actual or potential
conflict of interest involving the district judge and magistrate judge assigned to this case, and will
immediately notify the Court in writing on learning of any such conflict. I further certify that I
have inserted “None” if there is no actual or potential conflict of interest.


                                                By:_/s/ Mehmet Baysan_______________
                                                Mehmet Baysan (admitted pro hac vice)
                                                Breeding Henry Baysan PC
                                                900 S. Gay Street, Suite 1950
                                                Knoxville, TN 37902
                                                Telephone: (865) 670-8535
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                                                Ludmila Khomiak (FL Bar No. 91757)
                                                The Casas Law Firm, PC
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                                                Miami, FL 33130
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                                                Counsel for Plaintiff ZSR Patlayici Sanayi A.S.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of December 2019, a true and correct copy of the
foregoing was served by U.S. Mail on the following:

       Matthew Sarac
       8411 Sedonia Drive
       Estero, Florida 33967

       Sarac Distributors LLC
       6391 Corporate Park Circle, Suite 1
       Fort Myers, Lee County, Florida 33966

       Yavex LLC
       6391 Corporate Park Circle, Suite 1
       Fort Myers, Lee County, Florida 33966

                                              By:____/s/ Mehmet Baysan_______________
                                                  Mehmet Baysan
